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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

U.S. BANK, NATIONAL                             §
ASSOCIATION, NOT IN ITS                         §
INDIVIDUAL CAPACITY BUT                         §
SOLELY AS TRUSTEE FOR THE                       §
RMAC TRUST, SERIES 2016-CTT                     §
      Plaintiff,                                §
                                                §
v.                                              §     Civil Action No. 3:19-cv-281
                                                §
TERRI KELLEY LUTRICK,                           §
INDIVIDUALLY AND AS THE                         §
INDEPENDENT EXECUTOR OF THE                     §
ESTATE OF JIMMY GENE                            §
LUTRICK, DECEASED, BRYAN                        §
PRATHER, NICOLE PRATHER,                        §
COLT PRATHER, AND BRYAN                         §
PRATHER, JR.,                                   §
     Defendants.

                          PLAINTIFF’S ORIGINAL COMPLAINT

       COMES NOW, U.S. Bank, National Association, not in its Individual Capacity but Solely

as Trustee for the RMAC Trust, Series 2016-CTT (“Plaintiff” or “U.S. Bank”), and files this its

Original Complaint against Terri Kelley Lutrick, Individually and as the Independent Executor of

the Estate of Jimmy Gene Lutrick, Deceased, Bryan Prather, Nicole Prather, Colt Prather, and

Bryan Prather, Jr. (“Defendants”), and would respectfully show the Court as follows:

                        A. PARTIES, JURISDICTION AND VENUE

       1.     Plaintiff is a national banking association and trustee of a trust. When determining

the citizenship of the real parties in interest for purposes of diversity jurisdiction, it is the

citizenship of the trustee which controls, not the citizenship of the beneficiaries of the trust.

Navarro Sav. Assoc. v. Lee, 446 U.S. 458, 464–66 (1980); Mfrs. and Traders Trust Co. v. HSBC




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Bank USA, N.A., 564 F. Supp.2d 261, 263 (S.D.N.Y. 2008). A national bank is a citizen of the

state in which its main office, as set forth in its articles of association, is located. 28 U.S.C. §

1348(c); Wachovia Bank, N.A. v. Schmidt, 546 U.S. 303, 307 (2006). U.S. Bank has its main

office in Ohio. Therefore, U.S. Bank is a citizen of Ohio for diversity purposes.

       2.      Eugene Lutrick (“Mr. Lutrick”) was an obligor under the Loan Agreement. On or

about December 28, 2010, Mr. Lutrick died. Upon information and belief, no probate is open for

him in Hudspeth County, Texas—the County where he died and where the Property is located.

Accordingly, there is no executor or administrator to be made a party in this proceeding as the

personal representative of Mr. Lutrick’s estate. Furthermore, upon information and belief, Mr.

Lutrick died intestate.

       3.      Merele Lutrick (“Mrs. Lutrick” and together with Mr. Lutrick, “Decedents”) was

an obligor under the Loan Agreement. On or about October 30, 2014, Mrs. Lutrick died. Upon

information and belief, no probate is open for her in Hudspeth County, Texas—the County where

she died and where the Property is located. Accordingly, there is no executor or administrator to

be made a party in this proceeding as the personal representative of Mrs. Lutrick’s estate.

Furthermore, upon information and belief, Mrs. Lutrick died intestate.

       4.      Jimmy Gene Lutrick (“Jimmy Lutrick”) was an heir of the Decedents. On or about

July 4, 2019, Jimmy Lutrick died. A probate matter was opened for him on July 9, 2019 seeking

to probate a written will executed by Jimmy Lutrick on June 21, 2019. Defendant Terri Kelley

Lutrick (“Terri Lutrick”) was named the independent executor of the Estate of Jimmy Gene

Lutrick and was, thereby, appointed by the probate court as independent executor on July 29,

2019. Terri Lutrick is hereby named in this suit, both in her individual capacity and in her

capacity as independent executor of the Estate of Jimmy Gene Lutrick, Deceased.


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       5.      Judy Lutrick Prather (“Judy Prather”) was an heir of the Decedents. On or about

October 12, 2012, Judy Prather died. Upon information and belief, no probate is open for her in

Hudspeth County, Texas—the County where she died and where the Property is located.

Accordingly, there is no executor or administrator to be made a party in this proceeding as the

personal representative of Mrs. Lutrick’s estate. Furthermore, upon information and belief, Mrs.

Lutrick died intestate.

       6.      Terri Lutrick is an heir of the Decedents in this lawsuit and a citizen of the state of

Texas. She may be served with process at 3212 Lutrick Road, Dell City, Texas 79837, or at such

other place as she may be found. Summons is requested.

       7.      Defendant Bryan Prather is an heir of the Decedents in this lawsuit and a citizen of

the state of New Mexico. He may be served with process at 3303 Owen Prather Highway, Pinon,

New Mexico 88344, or at such other place as he may be found. Summons is requested.

       8.      Defendant Nicole Prather is an heir of the Decedents in this lawsuit and a citizen of

the state of New Mexico. She may be served with process at 212 Alamo Street, Space 30,

Alamogordo, New Mexico 88310, or at such other place as she may be found. Summons is

requested.

       9.      Defendant Colt Prather is an heir of the Decedents in this lawsuit and a citizen of

the state of Tennessee. He may be served with process at 10959 Panther Creek Road, Christiana,

Tennessee 37037, or at such other place as he may be found. Summons is requested.

       10.     Defendant Bryan Prather, Jr. is an heir of the Decedents in this lawsuit and a

citizen of the state of New Mexico. He may be served with process at 3303 Owen Prather

Highway, Pinon, New Mexico 88344, or at such other place as he may be found. Summons is

requested.


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        9.      In this suit, Plaintiff seeks to foreclose on a lien where the combined amount owed

and the estimated attorney’s fees are greater than $75,000.00; therefore, the minimum amount-in-

controversy requirement has been met. Due to Defendants’ conduct, as alleged herein, Plaintiff

has the right to foreclose upon the real property which secures the repayment of a debt pursuant

to a Deed of Trust lien. When seeking foreclosure pursuant to a lien securing the repayment of a

debt, the outstanding amount owed on the debt, as well as accrued interest and estimated

attorney’s fees, is the amount in controversy. Graham v. Henegar, 640 U.S. 732, 736 (5th Cir.

1981). As of March 29, 2019, the outstanding amount owed on the debt at issue was at least

$256,432.87.      Additionally, Plaintiff’s counsel anticipates that it will incur $15,000.00 in

attorneys’ fees for prosecuting this matter. Grant v. Chevron Phillips Chem. Co., 309 F.3d 864,

874 (5th Cir. 2002). Accordingly, the amount in controversy is in excess of $75,000.00.

        10.     There is diversity jurisdiction in this Court because there is complete diversity of

citizenship between Plaintiff (a citizen of Ohio) and Defendants (citizens of Texas, New Mexico,

and Tennessee), and more than $75,000.00 is in controversy in this cause, exclusive of interest

and costs. 28 U.S.C. § 1332.

        11.     Venue is proper in this district and division, the United States District Court for

the Western District of Texas, El Paso Division, under 28 U.S.C. § 1391(b)(2) because the real

property that is the subject of this action is situated in this district and division.

                                                   B. FACTS

        12.     This proceeding concerns a certain Loan Agreement secured by the real property

and improvements commonly known as 201 East Broadway, Dell City, Texas 79837 (the

“Property”), and more particularly described as follows:




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       COMMENCING AT THE SOUTHWEST CORNER OF SAID SECTION 23,
       THENCE EAST ON SAID SECTION LINE A DISTANCE OF 660 FEET TO A
       POINT;

       THENCE NORTH 40 FEET TO THE NORTH R.O.W. LINE OF F.M. ROAD
       2249, AND THE POINT OF BEGINNING FOR SAID TRACT;

       THENCE EAST ON SAID R.O.W. LINE A DISTANCE OF 210 FEET TO AN
       IRON PIN;

       THENCE NORTH A DISTANCE OF 410 FEET TO AN IRON PIN;

       THENCE WEST 210 FEET TO A POINT ON THE EAST LINE OF PLAT 3 OF
       DELL CITY;

       THENCE ALONG SAID EAST LINE SOUTH A DISTANCE OF 410 FEET TO
       THE PLACE OF BEGINNING AND CONTINUING IN ALL 1.98 ACRES,
       MORE OR LESS.

       13.    On or about May 28, 2003, Eugene Lutrick and Merele S. Lutrick (“Borrowers”)

executed an Adjustable Rate Note (Home Equity Conversion) (“Note”) in the principal amount of

$232,344.00 in favor of Wells Fargo Home Mortgage, Inc., a California Corporation (“Wells

Fargo”). Concurrently with the execution of the Note, the Borrowers executed a Adjustable Rate

Home Equity Conversion Deed of Trust (“Security Instrument” and together with the Note,

“Loan Agreement”), as grantors, granting Wells Fargo a security interest in the Property. The

Security Instrument was recorded in the official public records of Hudspeth County on June 9,

2003, as Document No. 113284. True and correct copies of the Note and Deed of Trust are

attached hereto as Exhibits A & B.

       14.    Wells Fargo transferred and assigned the Security Instrument to the Secretary of

Housing and Urban Development (“HUD”), as reflected in an Assignment of Deed of Trust and

Other Loan Documents (“First Assignment”). The First Assignment was dated April 27, 2007

and recorded in the real property records of Hudspeth County, Texas on September 14, 2007 as




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Document Number 00124963. A true and correct copy of the First Assignment is attached hereto

as Exhibit C.

       15.       HUD transferred and assigned the Security Instrument to U.S. Bank, as reflected

in an Assignment of Security Instrument (“Second Assignment”). The Second Assignment was

dated May 31, 2017 and recorded in the real property records of Hudspeth County, Texas on

June 13, 2017 as Document Number 00000145010. A true and correct copy of the Second

Assignment is attached hereto as Exhibit D.

       16.       Plaintiff is the current legal owner of the Note and the beneficiary of the Security

Instrument pursuant to assignment. Plaintiff is a mortgagee as that term is defined in section

51.0001(4) of the Texas Property Code.

       17.       Under the terms of the Loan Agreement, the Borrowers were required to pay

when due the principal and interest on the debt evidenced by the Note, as well as any applicable

charges and fees due under the Note. The Loan Agreement further provides that upon the death

of the Borrowers, the lender may enforce the Security Instrument by selling the Property

according to law and in accordance with the provisions set out in the Loan Agreement.

       18.       On or around December 28, 2010 and October 30, 2014, the Borrowers died,

which is a default under the Loan Agreement. Because they died intestate, according to the Texas

Estates Code, their interests in the Property passed to Defendants. All of the known heirs of

Borrowers have been included as Defendants in this matter. The deaths of both Borrowers was

an event of default under the terms of the Loan Agreement.

       19.       Though Defendants have had the use, benefit, and enjoyment of the Property, they

have failed or refused to pay the outstanding balance of taxes and/or insurance on the Property.




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Notice of default and request to pay the outstanding balance was served in accordance with the

Loan Agreement and the Texas Property Code to Borrowers’ last known mailing address.

        20.      The default was not cured and a notice that the maturity date of the Note had been

accelerated, thus making all unpaid principal and accrued interest due and payable.

        21.      Plaintiff brings this suit for declaratory judgment and foreclosure so it may enforce

its security interest in the Property.

                   C. CAUSE OF ACTION – DECLARATORY JUDGMENT

        22.      The foregoing paragraphs are incorporated by reference for all purposes.

        23.      Plaintiff requests a declaration from this Court that it is the owner and holder of

the Note and beneficiary of the Security Instrument. Plaintiff requests a further declaration from

this Court that, as owner and holder of the Note and beneficiary of the Security Instrument,

Plaintiff is a mortgagee as that term is defined under Texas Property Code section 51.0001(4),

and is authorized to enforce the power of sale in the Security Instrument through foreclosure of

the Property.

        24.      Plaintiff has been forced to hire the undersigned attorneys to seek a declaratory

judgment as a result of the Borrower’s failure to comply with the Loan Agreement. Plaintiff is

therefore entitled to and seeks judgment against Defendants for its reasonable attorney’s fees in

this action, both through trial and in the event of a subsequent appeal, as provided by the Security

Instrument signed by Defendant, and by statute. TEX. CIV. PRAC. & REM. CODE § 37.009.

         D. CAUSE OF ACTION – ENFORCEMENT OF STATUTORY PROBATE LIEN

        25.      Pursuant to the Texas Uniform Declaratory Judgment Act, Texas Civil Practice

and Remedies section 37.001, Plaintiff seeks a declaration that Plaintiff has a statutory probate

lien against the Property under the terms of the Loan Agreement and Texas law. Texas Estates


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Code sections 101.001(b) and 101.051 provide that “the estate of a person who dies intestate

vests immediately in the person’s heirs at law . . . subject to the payment of, and is still liable for

. . . the debts of decedent.”

        26.     Through Plaintiff’s statutory probate lien, reserved in Texas Estates Code sections

101.001 and 101.051, Plaintiff has an enforceable and superior lien against Decedent’s Heirs’

interests in the Property. Because of a material breach of the Loan Agreement, Plaintiff seeks to

enforce its statutory probate lien against the Property in accordance with the terms of the Loan

Agreement and Texas Property Code section 51.002 or Texas Rule of Civil Procedure 309.

                           E. CAUSE OF ACTION - FORECLOSURE

        27.     The foregoing paragraphs are incorporated by reference for all purposes.

        28.     Plaintiff asserts a cause of action for judicial foreclosure against the Defendants.

Plaintiff has fully performed its obligations under the Loan Agreement, however, the Borrowers

and Defendants have failed to make the payments required under the Note, which constitutes an

event of default.

        29.     The Security Instrument permits Plaintiff to foreclose on the Property should there

be an event of default on the Note. Accordingly, Plaintiff seeks judgment in its favor and an order

allowing foreclosure in accordance with the Security Instrument and Texas Property Code section

51.002, or alternatively, a judgment for judicial foreclosure.

        30.     Plaintiff has been forced to hire the undersigned attorneys to seek an order

allowing foreclosure as a result of the Defendants’ failure to comply with the Loan Agreement.

Plaintiff is therefore entitled to and seeks judgment against them for the reasonable attorneys’ fees

in this action, both through trial and in the event of a subsequent appeal, as provided by the Deed

of Trust signed by Borrowers.


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        31.     All conditions precedent have been performed or have occurred for Plaintiff to

enforce its security interest against the Property.

                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, U.S. Bank, National Association, not in its

Individual Capacity but Solely as Trustee for the RMAC Trust, Series 2016-CTT requests that the

Defendants be cited to appear and answer, and that, upon final hearing, the Court enter a

judgment declaring that (1) Borrowers are in default on their obligations on the Loan Agreement

and that (2) Plaintiff is the owner and holder of the Note, beneficiary of the Security Instrument

and mortgagee, as defined under Texas Property Code section 51.0001(4); and (3) authorizing

Plaintiff to enforce the power of sale in the Security Instrument through foreclosure of the

Property pursuant to Texas Property Code section 51.002, the Note and Security Instrument, or

alternatively, judicial foreclosure, and awarding attorney’s fees, costs and such other and further

relief to which it may be justly entitled at law or in equity.

                                                      Respectfully submitted,

                                                      By: /s/ Mark D. Cronenwett
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